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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

RICHARD A. BOWER, EQUAL
EMPLOYMENT OPPORTUNITY
COMMISSION, AND
JOHN OSWALD,

Plaintiffs

~_,¢-,¢-_/~_/~__/-_/

Civil Acticn NO.
94-€\/-2862 n/A
V.

RICHARD A. BOWER,

Plaintiff-Intervensr

SHARON HERDRICH, LUIS MORALES,
AND TIM WIESE,

Plaintiff~Interveners
V.

FEDERAL EXPRESS CORPORATION,

-_/-_/-_/-_/-_/~._/~_/\_/~_/__»~_/~__/~_/~_,»~__/~__/

Defendant.

 

ORDER ON PLAINTIFF’S MOTION TO SUBSTITUTE COUNSEL

 

It is ORDERED that plaintiff, Equal Employment Opportunity
Commissisn's, Motion to Substitute Counsel in this case is
GRANTED. Terry Beck, Snpervisory Trial Attorney, is substituting
for Thomas J. Borsk and Deidrs L. Smith, Senior Trial Attornsy,

is substituting for Draga G. Anthony.

Tn!s document entered on the docket sheet ln compliance
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Entsred this i{k&lay cf M% , 2005.

 

UN TED STA'I`ES DISTRICT JUDGE

 

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EsSEE

 

Connie Westbrook

LAW OFFICE OF CONNIE WESTBROOK
2504 Arthur Rd.

Germantown7 TN 3 8138

Todd M. Saranecki

KAPLAN BEGY & VON OHLEN
120 North La Salle Street

Chicago, IL 60602

.1 ames R. Mulroy

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

Colby S. Morgan

FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building 13.
1\/1emphis7 TN 38125--880

.1. Kendrick Kresse

CALIFORNIA CENTER FOR LAW AND THE DEAF
14895 East 14th St.

Ste. 220

San Leandro, CA 94578--292

Carolyn HoWard

NORWOOD HOWARD & ATCHLEY
1407 Union Ave.

Ste. 807

1\/1emphis7 TN 3 8 1 04--3 62

Thomas L. Henderson

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

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Richard 13. Fields

LAW OFFICE OF RICHARD B. FIELDS
688 .1 efferson Ave.

1\/1emphis7 TN 38105--193

Callan G. Carter

CALIFORNIA CENTER FOR LAW AND THE DEAF
14895 East 14th St.

Ste. 220

San Leandro, CA 94578--292

Thomas .1. Borek

EQUAL E1\/1PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

Draga G. Anthony

EQUAL E1\/1PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

Honorable Bernice Donald
US DISTRICT COURT

